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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 SYNKLOUD TECHNOLOGIES, LLC,

       Plaintiff,
                                            C.A. No: 1:19-cv-1360-RGA
       v.

 HP INC.,

       Defendant.


PLAINTIFF SYNKLOUD TECHNOLOGIES, LLC’S OPENING BRIEF IN SUPPORT
        OF MOTION TO CERTIFY FOR INTERLOCUTORY APPEAL



     Dated: October 23, 2020
                                                KLEHR HARRISON
     OF COUNSEL:                                HARVEY BRANZBURG LLP

     Deepali Brahmbhatt                         David S. Eagle (#3387)
     One LLP                                    Sean M. Brennecke (#4686)
     4000 MacArthur Blvd.                       919 Market Street, Suite 1000
     East Tower, Suite 500                      Wilmington, Delaware 19801
     Newport Beach, CA 92660                    Telephone: (302) 552-5518
     Telephone: (949) 502-2870                  Facsimile: (302) 426-9193
     Facsimile: (949) 258-5081                  deagle@klehr.com
     dbrahmbhatt@onellp.com                     sbrennecke@klehr.com

     John Lord                                  Attorneys for Plaintiff,
     One LLP                                    SynKloud Technologies, LLC
     9301 Wilshire Blvd.
     Penthouse Suite
     Beverly Hills, CA 90210
     Telephone: (310) 866-5157
     Facsimile: (310) 943-2085
     jlord@onellp.com




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        Plaintiff SynKloud Technologies, LLC (“SynKloud” or “Plaintiff”) respectfully requests

that the Court certify for interlocutory appeal the Court’s partial dismissal (D.I. 32 (“Order”) and

supporting Memorandum D.I. 31) pursuant to 28 U.S.C. § 1292(b) and Fed. R. App. P. 5(a)(3) and

stay the proceedings pending appeal. The Court partially dismissed partial claims of two the

patents-in-suit, US Patent Nos. 9,098,526 (“the ’526 Patent”) and 10,015,254 (“the ’254 Patent”)

and all the claims of a third patent, US Patent No. 8,694,590 (“the ’590 Patent”) allowing one

patent. US Patent No. 7,879,225 (“the ’225 Patent”) out of the four patents-in-suit to survive as

eligible subject matter. (D.I. 31-32). The related Microsoft action also has the same two of the

dismissed patents-in-suit. (Civ. No. 1:20-cv-00007-RGA.)

        Certification is warranted here because Plaintiff presents a purely legal question, namely,

whether the claims of three of the four patents-in-suit claim patent-eligible subject matter under

35 U.S.C. § 101 as interpreted by the Supreme Court’s decision in Alice Corp. Pty. v. CLS Bank

International, 134 S. Ct. 2347 (2014), and the Federal Circuit’s subsequent interpretations of that

decision. Allowing this difficult issue to be resolved now, prior to the start of discovery in this

matter, may save the parties and the Court needless expenditure of time, effort, and money, making

this an appropriate situation in which to certify an interlocutory appeal.

        Allowing Plaintiff to appeal this decision earlier promotes efficiency not only in this action

but also three related actions. The appeal will streamline issues in this action. This Court’s Order

invalidating three of the four patents-in-suit under 35 U.S.C. § 101 has broader ramifications that

have cast an uncertainty over other related actions. The partially dismissed ’526 and the ’254

Patents are also at issue in the Microsoft action. (Civ. No. 1:20-cv-00007-RGA). Plaintiff has

asserted server-side claims of the ’254 Patent and 5 other related patents from the same family

against Dropbox and Adobe. See SynKloud Techs., LLC v. Dropbox, Inc., No. 6:19-cv-00526-

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ADA and SynKloud Techs., LLC v. Adobe Inc., No. 6:19-cv-00527-ADA (W.D. Tex., Waco

Division). Earlier resolution through appeal will help streamline all of the related actions.

I.      NATURE AND STAGE OF THE PROCEEDINGS

        On July 22, 2019, SynKloud filed a Complaint against HP, Inc. alleging infringement of

“at least claim 1” of the ’526 and ’254 Patents while reserving its right to assert additional claims.

(D.I. 1.) In response, HP filed a motion to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6) claiming that the patents-in-suit are patent-ineligible under §101. SynKloud filed an

Amended Complaint on November 12, 2019, which includes the original ’526 and ’254

allegations, and further asserting claim 1 of the ’225 Patent and claim 1 of the ’590 Patent. (D.I.

15.) HP responded with motion to dismiss all of the patents-in-suit under ineligible subject-matter

35 U.S.C. 101. SynKloud opposed the motion highlighting significant claim construction disputes

that need to be resolved. On September 29, 2020, the Court dismissed three out of the four patents-

in-suit. (D.I. 31-32). Specifically, the Court held that Claims 1 to 74 of the ‘590 patent, Claims 1

to 10 of the ‘526 patent, and Claims 1 to 8 of the ‘254 patent are invalid for claiming patent-

ineligible subject matter. The Claims of the ’225 Patent remain valid and are not dismissed. The

server-side claims of the ’254 Patent were not addressed in the Order.

        On October 7, 2020, within ten days of the order, Plaintiff notified HP of its request to file

interlocutory appeal and whether HP would oppose such a motion. On October 8, 2020, HP

responded that it would oppose such a motion as piecemeal litigation. The Court Order in the HP-

action dismissed only partial claims related to one set of the client-side claims, the surviving claims

continue to be at issue in the related Microsoft action including the server-side claims. (Civ. No.

20-00007-RGA).



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        For the purposes of streamlining issues at trial, on October 13, 2020, Plaintiff proposed

staying both the related actions HP and Microsoft with its request to certify and a meet and confer

call. On October 15, 2020, Plaintiff followed up on the meet and confer request. HP and

Microsoft’s counsel responded with request for additional time to discuss with clients and they

were not able to meet and confer before October 23, 2020. A meet and confer teleconference was

held on October 23, and Plaintiff subsequently filed this motion. The Court has not held its initial

Rule 16(b) scheduling conference yet. Discovery has not begun.

II.     SUMMARY OF ARGUMENT

        The Court’s certification of the request for interlocutory appeal will save the federal courts

and the parties time and expense because a final resolution of this issue through appeal will help

streamline issues for trial in all the four related actions.

III.    STATEMENT OF FACTS

        SynKloud is an intellectual property licensing limited liability company organized under

the laws of the State of Delaware with its principal place of business at 124 Broadkill Road, Suite

415, Milton, DE 19968. SynKloud acquired two of the Patents-in-Suit (i.e., the ’526 and the ’254

Patents) in December of 2018 directly from STTWebOS, founded by Ted Tsao, who is the sole

inventor of the technology at issue. The claims of the ’590 Patent originate from another company,

Presto Services, Inc. The claims of the ’225 Patent originate from a fourth company, Ximeta and

cover different aspects of preserving data integrity for a network-based storage resource using

efficient operating system implementations. Both the STTWebOS and Ximeta patents are asserted

against the same accused products.

        SynKloud filed this this current action on July 22, 2019. (D.I. 1). SynKloud filed an

amended complaint on November 12, 2019. The Court dismissed three out of the four patents for

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lack of eligible subject matter. (D.I. 32.) Microsoft filed a declaratory judgment action against

SynKloud on January 2, 2020. (Civ. No. 20-00007-RGA.) The ’526 and ’254 Patents partially

dismissed in this action are also at issue in the Microsoft action.

        SynKloud also has ongoing litigations on the server-side claims against Adobe and

Dropbox. SynKloud Techs., LLC v. Dropbox, Inc., No. 6:19-cv-00526-ADA (W.D. Tex., Waco

Division) and SynKloud Techs., LLC v. Adobe Inc., No. 6:19-cv-00527-ADA (W.D. Tex., Waco

Division) (both actions asserting the ’254 Patent server-side claims and 5 other related patents

from the same family). While the infringement issues are different, any invalidity of server-side

claims would apply to all the related actions.

IV.     LEGAL STANDARD

        Plaintiff seeks interlocutory appeal. Section 1292(b) provides that a district court may

certify an order for interlocutory appeal when it finds “[1] that such order involves a controlling

question of law [2] as to which there is substantial ground for difference of opinion and [3] that an

immediate appeal from the order may materially advance the ultimate termination of the

litigation.” 28 U.S.C. § 1292(b); see Chase Manhattan Bank v. Iridium Africa Corp., 324 F. Supp.

2d 540, 545 (D. Del. 2004).

        Courts have sua sponte certified early dismissal of patents on 101 grounds, especially

dismissal of some and not all patents asserted, for interlocutory appeal. See Youtoo Techs. LLC v.

Twitter Inc, No. 3:16-CV-00764-N, 2016 WL 7118922, at *2 (N.D. Tex. Nov. 10, 2016); see also

Feit Electric Company v. Beacon Point Capital, LLC, 1:13-CV-09339, at *5 (N. D. Ill. Dec. 20,

2019) (certifying interlocutory appeal when the issue relates to whether a patent is enforceable at

all).



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        This request to certify for interlocutory appeal is timely as it is filed simultaneously to

motion seeking a Court Order in the related action for Microsoft. Plaintiff acted within 10 days of

the Court’s Order and notified Counsel regarding its intent to seek interlocutory appeal. Within

reasonable time after, Plaintiff requested meet and confer with HP and Microsoft’s counsel to

consolidate issues in this action and the related Microsoft action based on the Court Order in this

action and avoid unneeded motion practice and avoid piecemeal litigation. The Federal Circuit

has jurisdiction to hear related appeal filed within 10 days of this Court’s certification for

interlocutory appeal. 28 U.S.C. § 1292(b).

V.      THIS COURT SHOULD CERTIFY FOR INTERLOCUTORY APPEAL AND
        STAY THE PROCEEDINGS

        Section 1292(b) provides that a district court may certify an order for interlocutory appeal

when it finds “[1] that such order involves a controlling question of law [2] as to which there is

substantial ground for difference of opinion and [3] that an immediate appeal from the order may

materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b); see Chase

Manhattan Bank v. Iridium Africa Corp., 324 F. Supp. 2d 540, 545 (D. Del. 2004).

        A.         The Order Involves a Controlling Question of Law

        The first requirement for certification is that the Court’s Order to be appealed involve a

controlling question of law. 28 U.S.C. § 1292(b). “In general, a question of law is ‘controlling’

within the meaning of Section 1292(b) only if [the] resolution of that issue could have an

immediate impact on the course of the litigation.” Fujitsu Ltd. v. Tellabs, Inc., 539 F. App’x 1005,

1007 (Fed. Cir. 2013). The Court’s Order here involves a controlling question of law regarding

whether three out of the four patents-in-suit patents cover patentable inventions as opposed to

unpatenable abstract ideas under Alice and its progeny. Alice, 134 S. Ct. at 2355. The validity of a

patent claim under 35 U.S.C. § 101 is a question of law, OIP Techs., Inc. v. Amazon.com, Inc., 788
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F.3d 1359, 1362 (Fed. Cir. 2015), and the resolution of that question would dictate whether this

litigation proceeds or ceases altogether.

        The Court held that the dismissed patents claim an abstract idea and do not add any

inventive concept. For the ’590 Patent, the Court found as a matter of law that the claims cover

abstract ide of manipulating or reorganizing data adding no inventive concept. (D.I. 31 at 24.) For

the ’526 and the ’254 Patents, the Court held as a matter of law that claim the abstract idea of

storing and retrieving data from a remote location, implemented on conventional, well-known

hardware, adding no inventive concept. (D.I. 31 at 22.) Accordingly, the Court’s Order involves

a controlling question of law and satisfies the first requirement for certification under 28 U.S.C. §

1292(b).

        Here, the question is controlling because a reversal will save time and expense for this

Court as well as Courts in the related actions. Every aspect of this action going forward, from

discovery to damages, turns on this controlling question of law. The parties will dispute and this

Court will be forced to determine the proper scope of any products that can now be the subject of

a potential infringement claim and corresponding damages calculations that would apply only to

the surviving claims.

        B.         There is Substantial Ground for Difference of Opinion

        The Court’s opinion applied the two-step test set out by the Supreme Court in Alice for

determining whether a claim is patent-eligible under § 101. Specifically, the Court concluded that

both the ’526 and ’254 patents merely claimed storage and retrieval and did not use cache and

cache storage in non-intuitive method to download and access file on to a remote server. (D.I. 31

at 14-15.) The Court also concluded that the ’590 Patent applies to abstract idea of formatting

emails using templates for delivery to a printer, with no inventive concept. (D.I. 31 at 31.) The

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Court’s conclusion contradicts the USPTO decision and the file history that allowed issuance over

prior art for both the Patents post-Alice.

        The Court dismisses explicit claim language operation among three devices, “a wireless

device”, “a storage server” and “a remote server” listing the three devices stating that Plaintiff’s

argument is not supported by the claims. (D.I. 31 at 12.) The Court’s opinion acknowledges, with

a better explanation, the Court would come to a substantial ground for difference of opinion on the

issue of what constitutes patent-eligible subject matter. (Id.) The Court’s conclusion at this early

motion to dismiss stage further demonstrates that there is substantial ground for difference of

opinion. Accordingly, because there is substantial ground for a difference of opinion regarding the

question of law addressed in the order at issue, the second requirement for certification under 28

U.S.C. § 1292(b) is satisfied.

        C.         Reversal by the Federal Circuit Would Advance the Termination of This
                   Litigation and Also Related Litigations

        Appeal at this juncture is both proper and pragmatic because the identical issue permeates

the four related actions. Interlocutory review of the Court’s Order could prevent months, or years,

of burdensome discovery and litigation. Without interlocutory review, the parties—which have

not yet begun discovery—would be required to litigate a full case from start to finish (i.e., conduct

discovery, brief claim construction and summary judgment, and potentially try the case to a jury)

before having the opportunity to raise with the Federal Circuit whether the asserted patents are

valid on their face.

        Conclusively resolving the issue of whether the patents at issue cover patentable subject

matter prior to litigating other forms of invalidity and infringement could conserve the parties’

and the Court’s resources, and at the very least will provide an element of certainty should the

case progress. Accordingly, interlocutory appeal of the Order at issue could materially advance
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the termination of this litigation, satisfying the third requirement for certification under 28

U.S.C. § 1292(b).

VI.     STAY IS APPROPRIATE PENDING APPEAL

        The Federal Circuit has upheld a district court order staying proceedings when petition is

under appellate review. See In re MSTG, Inc., 675 F.3d 1337, 1341 (Fed. Cir. 2012). A stay here

will help streamline discovery and avoid litigation on duplicate issues related to the same accused

products. The same accused products are at issue for both the dismissed and the surviving patents

and claims.

VII.    CONCLUSION

        For the foregoing reasons, SynKloud respectfully requests that the Court grant certification

of the order for interlocutory appeal under 28 U.S.C. § 1292(b) and stays all proceedings in the

action pending appellate review.



        Dated: October 23, 2020
                                                             KLEHR HARRISON
        OF COUNSEL:                                          HARVEY BRANZBURG LLP

        Deepali Brahmbhatt (Pro Hac Vice)                    /s/ Sean M. Brennecke
        dbrahmbhatt@onellp.com                               David S. Eagle (#3387)
        ONE LLP                                              Sean M. Brennecke (#4686)
        4000 MacArthur Blvd.                                 919 Market Street, Suite 1000
        East Tower, Suite 500                                Wilmington, Delaware 19801
        Newport Beach, CA 92660                              Telephone: (302) 552-5518
        Telephone: (949) 502-2870                            Facsimile: (302) 426-9193
                                                             deagle@klehr.com
        John Lord (Pro Hac Vice)                             sbrennecke@klehr.com
        jlord@onellp.com
        ONE LLP                                              Attorneys for Plaintiff,
        9301 Wilshire Blvd.                                  SynKloud Technologies, LLC
        Penthouse Suite
        Beverly Hills, CA 90210
        Telephone: (310) 866-5157

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